           Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 1 of 59



                                                          THE HONORABLE THOMAS S. ZILLY
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 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON

 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                      NO. 2:17-cv-01731-TSZ
                              Plaintiff,
 9                                                      DECLARATION OF J. CURTIS
                                                        EDMONDSON IN SUPPORT OF
10          vs.
                                                        RESPONSE TO MOTION TO
                                                        EXTEND DEADLINES
11   JOHN DOE, subscriber assigned IP
     address 73.225.38.130,
12
                              Defendant.
13

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,

16                            Counterclaimant,

17          vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                              Counterdefendant.
20

21

22

23          I, J. Curtis Edmondson, hereby declare under the penalty of perjury under the laws of the

24   United States of America, the following:

25          1.     I am counsel of record in this case. I am a member of the bar of this Court and a

26   member of the Patent Bar. I have personal knowledge of the facts set forth in this declaration

27
     DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF RESPONSE TO MOTION TO EXTEND
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     DEADLINES - 1                                                        936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                          Seattle, Washington 98103-8869
                                                                       TEL. 206.816.6603  FAX 206.319.5450
                                                                              www.terrellmarshall.com
            Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 2 of 59




 1   and could testify competently to them if called upon to do so.
 2           2.      Attached as Exhibit 1 is a true and correct copy of the proposed protocol I emailed
 3   to Strike 3’s counsel on March 22, 2019 regarding inspection of Doe’s hard drives.
 4           3.      A week later on Friday, March 29, 2019, I conferred telephonically with Strike
 5   3’s counsel regarding the proposed protocol, along with co-counsel, Adrienne McEntee. Strike
 6   3’s counsel agreed during the call to consider our proposal and get back with us the following
 7   Monday.
 8           4.      Attached as Exhibit 2 is a true and correct copy of the email Ms. McEntee sent to
 9   Strike 3’s counsel following our March 29, 2019 telephone call.
10           5.      Strike 3’s counsel did not respond the following Monday regarding the proposed
11   protocol and has not initiated a conversation regarding the analysis of Doe’s computers with me
12   (or Ms. McEntee) since March 29th.
13           6.      Attached as Exhibit 3 is a true and correct copy of excerpts from John Doe’s
14   deposition. The portions of the transcript that reference names, addresses, and emails have been
15   redacted to protect the identity of Doe and his family, friends, and neighbors.
16           7.      Doe anticipates serving additional discovery requests to Strike 3 this week
17   following Strike 3’s recent deposition testimony. Because of Strike 3’s history of declining to
18   produce data and documents in response to requests for production, Doe joins in Strike 3’s
19   request to extend the deadline to bring discovery motions.
20           I declare under penalty of perjury under the laws of the United States that the foregoing
21   is true and correct.
22           EXECUTED this 24th day of April, 2019, at Hillsboro, Oregon.
23
                                                      /s/ J. Curtis Edmondson, WSBA #43795
24                                                  J. Curtis Edmondson, WSBA #43795
25

26

27
     DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF RESPONSE TO MOTION TO EXTEND
                                                                      TERRELL MARSHALL LAW GROUP PLLC
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                                                                                www.terrellmarshall.com
            Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 3 of 59



                                      CERTIFICATE OF SERVICE
 1

 2          I, Adrienne D. McEntee, hereby certify that on April 24, 2019, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the following:
 5                  Bryan J. Case, WSBA #41781
 6                  Email: bcase@foxrothschild.com
                    FOX ROTHSCHILD LLP
 7                  1001 Fourth Avenue, Suite 4500
                    Seattle, Washington 98154
 8                  Telephone: (206) 624-3600
                    Facsimile: (206) 389-1708
 9

10                  Lincoln D. Bandlow, Admitted Pro Hac Vice
                    Email: lbandlow@foxrothschild.com
11                  FOX ROTHSCHILD LLP
                    10250 Constellation Blvd., Suite 900
12                  Los Angeles California 90067
                    Telephone: (310) 598-4150
13
                    Facsimile: (310) 556-9828
14
                    John C. Atkin, Admitted Pro Hac Vice
15                  Email: jatkin@atkinfirm.com
                    THE ATKIN FIRM, LLC
16                  55 Madison Avenue, Suite 400
                    Morristown, New Jersey 07960
17
                    Telephone: (973) 285-3239
18
                    Attorneys for Plaintiff
19
                    Joshua L. Turnham, WSBA #49926
20                  E-mail: joshua@turnhamlaw.com
                    THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
21
                    1001 4th Avenue, Suite 3200
22                  Seattle, Washington 98154
                    Telephone: (206) 395-9267
23                  Facsimile: (206) 905-2996
24                  Attorneys for Non-Party Donald Isaksen, Jr.
25

26

27
     DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF RESPONSE TO MOTION TO EXTEND
                                                                    TERRELL MARSHALL LAW GROUP PLLC
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                                                                               www.terrellmarshall.com
          Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 4 of 59



           DATED this 24th day of April, 2019.
 1

 2                                         TERRELL MARSHALL LAW GROUP PLLC

 3
                                           By: /s/ Adrienne D. McEntee, WSBA #34061
 4                                           Adrienne D. McEntee, WSBA 34061
                                             Email: amcentee@terrellmarshall.com
 5
                                             936 North 34th Street, Suite 300
 6                                           Seattle, Washington 98103-8869
                                             Telephone: (206) 816-6603
 7                                           Facsimile: (206) 319-5450
 8                                         Attorneys for Defendant
 9

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27
     DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF RESPONSE TO MOTION TO EXTEND
                                                              TERRELL MARSHALL LAW GROUP PLLC
     DEADLINES - 4                                                      936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                        Seattle, Washington 98103-8869
                                                                     TEL. 206.816.6603  FAX 206.319.5450
                                                                            www.terrellmarshall.com
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        — EXHIBIT 1 —
            Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 6 of 59



                                                          THE HONORABLE THOMAS S. ZILLY
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 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON

 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                       NO. 2:17-cv-01731-TSZ
                               Plaintiff,
 9                                                       [PROPOSED[ DEFENDANT’S
                                                         ESI PROTECTIVE ORDER ON
10          vs.
                                                         COMPUTERS AND HARD DRIVES
11   JOHN DOE, subscriber assigned IP
     address 73.225.38.130,
12
                               Defendant.
13

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,

16                             Counterclaimant,

17          vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                               Counterdefendant.
20

21

22

23          The parties hereby stipulate to the following provisions regarding the discovery of

24   electronically stored information (“ESI”) for the Defendant in this matter:

25

26
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 1
             Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 7 of 59



     A.       General Principles
 1
          1. An attorney’s zealous representation of a client is not compromised by conducting
 2
          discovery in a cooperative manner. The failure of counsel or the parties to litigation to
 3
          cooperate in facilitating and reasonably limiting discovery requests and responses raises
 4
          litigation costs and contributes to the risk of sanctions.
 5
          2. The proportionality standard set forth in Fed. R. Civ. P. 26(b)(1) must be applied
 6
          in each case when formulating a discovery plan. To further the application of the
 7
          proportionality standard in discovery, requests for production of ESI and related responses
 8
          should be reasonably targeted, clear, and as specific as possible.
 9

10

11
     B.       ESI Disclosures
12
          Within 30 days after the Rule 26(f) conference, or at a later time if agreed to by the
13
          parties, each party shall disclose:
14
          1. Custodians. The five custodians most likely to have discoverable ESI in their possession,
15
          custody or control. The custodians shall be identified by name, title, connection to the instant
16
          litigation, and the type of the information under his/her control.
17
          2. Non-custodial Data Sources. A list of non-custodial data sources (e.g. shared
18
          drives, servers, etc.), if any, likely to contain discoverable ESI.
19
          3. Third-Party Data Sources. A list of third-party data sources, if any, likely to
20
          contain discoverable ESI (e.g. third-party email and/or mobile device providers, “cloud”
21
          storage, etc.) and, for each such source, the extent to which a party is (or is not) able to
22
          preserve information stored in the third-party data source.
23
          4. Inaccessible Data. A list of data sources, if any, likely to contain discoverable ESI
24
          (by type, date, custodian, electronic system or other criteria sufficient to specifically
25
          identify the data source) that a party asserts is not reasonably accessible under Fed. R.
26
          Civ. P. 26(b)(2)(B). [Section (C)(3)(a)(i) below sets forth data sources and ESI
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 2
                Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 8 of 59




   1         which are not required to be preserved by the parties. Those data sources and ESI do
   2         not need to be included on this list.]
   3            DEFENDANT’S DESIGNATION PURSUANT TO SECTION B.
   4            Plaintiff made a document request for all computers and electronic media in possession
   5            and control of Defendant.
   6            1.      Defendant John Doe is a retired cop who in his retirement purchased computers
   7   and fixed them up with the idea of providing them to non-profits as a hobby. Defendant John
   8   Doe has collected all electronic media and computers requested by the Plaintiff during the
   9   period of infringement and has turned them over to counsel for inspection. The number of
  10   computers and hard drives are approximately 100 and are in various states of operation.
  11   Defendant John Doe is the sole custodian. Defendant counsel is in possession of the hard drives
  12   and other media.
  13            2.      Defendant does not believe there is any non-custodial data sources.
  14            3.      Third Party data sources – This may include email servers for two email
  15   accounts. Defendant has searched those email accounts for requested documents.
  16            4.      Inaccessible Data – Some of the computers and hard drives may have failed or
  17   were purchased in a failed condition.
  18

  19    C.      Preservation of ESI
  20            The parties acknowledge that they have a common law obligation to take reasonable
  21   and proportional steps to preserve discoverable information in the party’s possession, custody
  22   or control. With respect to preservation of ESI, Defendant has:
  23   1.       Gathered all computers and hard drives in possession during the period of infringement.

As24noted, this is approximately 100 items.
  25            2.      Identified the majority of the computers by model and S/N, and the same with
  26   the hard drives.
  27


       [PROPOSED] DEFENDANT’S ESI PROTECTIVE
       ORDER - 3
             Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 9 of 59




 1           3.      These categories of Defendant’s ESI need not be preserved:
 2                   a.       Deleted, slack, fragmented, or other data only accessible by forensics.
 3                   b.       Random access memory (RAM), temporary files, or other ephemeral
 4   data that are difficult to preserve without disabling the operating system.
 5                   c.       On-line access data such as temporary internet files, history, cache,
 6   cookies, and the like.
 7                   d.       Data in metadata fields that are frequently updated automatically, such as
 8   last-opened dates (see also Section (E)(5)).
 9                   e.       Back-up data that are substantially duplicative of data that are more
10   accessible elsewhere.
11                   f.       f. Server, system or network logs.
12                   g.       Data remaining from systems no longer in use that is unintelligible on
13   the systems in use.
14                   h.       The computers and hard drives located at Counsel’s office in Hillsboro,
15   Oregon, stored in numerous plastic containers.
16
17   DEFENDANT’S DESIGNATION PURSUANT TO SECTION C
18           4.      Defendant has collected all requested computers and media and has stored them
19   at counsel’s office.
20           5.      Defendant will keep the computers and media in native format as the cost for a
21   complete forensic image of each drive and a string search of each drive is disproportionately
22   large (est $ 50,000.00).
23

24

25   D.      Privilege
26        1. With respect to privileged or work-product information generated after the filing of the
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 4
            Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 10 of 59




 1        complaint, parties are not required to include any such information in privilege logs.
 2

 3           2.       Subject to STEP “E”, Defendant will identify those computers that may have
 4   been used to communicate with this attorneys. Steps will be taken to identify those
 5   communications that are privileged.
 6

 7   E.      ESI Discovery Procedures
 8           Plaintiff contends that their IPP software has recorded “File Hashes” that uniquely
 9   identiffy an infringed movie that are approximately 20-40 minutes in length.
10           Plaintiff has provided, in response to Defendant’s discovery requests, data that their
11   German monitoring system that is used to purportedly identify infringers. This data provided
12   by the Plaintiff’s monitoring software is:
13
      Work        Hash                                             Site
14    1           1BC8C1ADCAA75C3EC9408C8CCBF5147863205E6C         Tushy
      2           0326E8923C58852725F5A7857833A4CD3E715289         Tushy
15
      3           039F4779148D3E374D990283A83AC46A0219DAE9         Vixen
16    4           0CAB7415EAE003A2C3835DE5FC716759A49040B9         Tushy
      5           0CDEB18021838E8E2A694A7D16D9A45366CFABB6         Blacked
17    6           1278F4C4BF0B45678418F6CC8F8844DE4AB68C83         Tushy
18    7           1487A26EAAAD70318258AB9F506506A8F293533A         Blacked
      8           18A6F7D0E24D4FA3CC1589DE496D1AD9433CF09B         Blacked
19    9           1A032CB38BB2AF87DAF2B239A1A17B6C713EBC26         Blacked
20    10          1C2C06D480942F4FE7FDCED4759E93805E02B54B         Tushy
      11          1D1B18BB0C921D6E1A6D148E4542257B42A2469F         Tushy
21    12          1D63168E762F9CB41AE4DBD6646599AD0EFF3911         Blacked
      13          1D7E521CD7368013A7F1B28494A2AC43D8F99F0E         Vixen
22
      14          1D7E721AC3B8D955BBCAD8D62F57AF030BD1F315         Vixen
23    15          22883186DAB5FCA92C8513AD939652BCB867FD5C         Tushy
      16          22C377CC65B1695E6470BFAF967C4C825391EF90         Blacked
24
      17          24D6E127081B069994E81CA544B8FF3E3A0A33D3         Tushy
25    18          258961E123E520633A96CDF11E8E6F60E233C816         Vixen
      19          289FE7D65DFCFACB416832D12862105A2762841A         Blacked
26    20          31577E16E1B68BF13F30BE538E1BAF66E224726A         Tushy
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 5
          Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 11 of 59



     21      322F6ABAB019761A6FF3C1211AF75B28137F013F   Vixen
 1
     22      34452073A3328CE2AF5FC73A5A8DDD4141E85B4A   Vixen
 2   23      374A3B65D604113BB3880FDACE83FD1EFED3CA7C   Tushy
     24      3945FEF635D609C3FB77DD4762FC2570E7E12D7C   Blacked
 3
     25      3F3D4931127C380DD0AA05C298E26438267560BB   Vixen
 4   26      408577469D1675504E89F205C619738007D08DD9   Blacked
     27      4125860EC76C1E0880F652DA94EB84D375A64436   Tushy
 5
     28      464AB452DA8258FA23BA74830F0D57EE7CA518C5   Tushy
 6   29      48F5E3FE474EA76DE23D7D0A8F27ADA15F5C98D7   Blacked
     30      4B86BC16D0E5A0983C578B61ED87BC62C55B116A   Vixen
 7   31      4F0D3D0FD3F88791F4933080453A052BE6924F22   Tushy
 8   32      4FAE423CFA8C54409A4658429D7CB2B3E0F2E8B1   Vixen
     33      4FF62836FC3C509617EE5DE7658EAABE045C0BA1   Tushy
 9   34      5003D85013A07470D85A3250EF4B3393B6E2CB04   Tushy
10   35      5176733783D1199D43060681D7AE2D4E3B5C9AF9   Blacked
     36      53FF1B4BD8FB69630FE0A67611FE747F902F6874   Vixen
11   37      5A06B4EA4DB48984499F2E9EA7213220E835089D   Blacked
     38      5AA7FC6E46AEF9EC1227A939EADB3351AD495F12   Vixen
12
     39      5C208E2ABF6083135CA52776A02D87442F215D60   Tushy
13   40      5F25F5C8970A1123950D8543F0C954308ECC9D12   Tushy
     41      6503CB2EAECE7FA2F1D71B98E41D6D845BF7B794   Vixen
14
     42      6960957E412263AA671D4F7A15737527D71A7C08   Tushy
15   43      69AC2D8751ABF0FED5C443A1CE77A7C7529B7AC9   Vixen
     44      6A53ECB874B094837053EB7B7142560F0A85A9C2   Vixen
16
     45      6B9175E9708A1BE765BBDC6582A68A12E44A33E3   Vixen
17   46      72F519FE9EED3C466979E55CFEBF253309A8106C   Vixen
     47      74C66B184CB3F25F69326EF0C5529CDB680A8C47   Vixen
18   48      792198F0F41E1FFA44A67E62F451EC11B9B692EF   Vixen
19   49      7E4981D21DDD4B8D9EB5905B1B8A95461915A160   Blacked
     50      82EC6E9F2A9287FD59C2B571FDC0CDED7EDDBB81   Blacked
20   51      8519F3BB18D38EB8472CD07987B1BC2224E7EC22   Vixen
21   52      88D30B83D9E749F514380A5F2E9C3E876CF55431   Tushy
     53      8D906EA439B8BF052A8D68240F71C6D9ACE1E17A   Vixen
22   54      8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen
     55      921AED6337A58B159CFAF9DADDFE2D91CDFF8AB3   Tushy
23
     56      94E00EDACF46F8763B4B28A29BEB83473AC2BA8E   Blacked
24   57      9B5E94F7A0C627798E8020DFAA9A28609D1AB82A   Tushy
     58      9C80B087C925D30BA01F72FC0EAABD8EAADF588A   Blacked
25
     59      9D5513F0563852D9FB73EDC7D6318A6BB04334D9   Tushy
26   60      9E77DF7FCCB30D04DC6500C39CC3EF0AA2B48257   Blacked
     61      ABC004062B9F9CF37E9A3A57F4BEA161154EECAE   Vixen
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 6
           Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 12 of 59



      62          ABDFB02F5D20E29C32ABCE90A8478787DDA3C11D             Tushy
 1
      63          AE6A89DD0FB4978EAC561028F9FB06AA0A8D7E6A             Tushy
 2    64          AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2             Blacked
      65          B2EC2056C7699F25A118F23E36BB74FC7D3B7131             Vixen
 3
      66          B80F62F292E7B77184DC0BCF80ECE23CF7B23D15             Tushy
 4    67          BA56E328AE2DBA8A20B327451656293E37FDAE35             Blacked
      68          C496C2BFE4C6D994F43DC665F2CBEE16FE85777A             Tushy
 5
      69          C59734C1DC4D87F563ABE2D6E371C12FD12FC7D9             Blacked
 6    70          C6965A70345AC1C86DD34737BF381734CA301655             Vixen
      71          D2B9C8834073E3BF4B55F7BF45C7EA7BE5903569             Blacked
 7    72          DB6040CB19308F376554AC18F5C883139311322D             Blacked
 8    73          DCE0631B0833B899B8A4C577203A87AD00BD2B8B             Blacked
      74          DCE1E033042DA8E7CFC7CEC42B7D21201BEDFD57             Tushy
 9    75          E132114F31A37161B83D12BCE6320B65DE025C9B             Vixen
10    76          E1C14843DC58F3CB2CCB7383B242E4EE8D32363B             Tushy
      77          E272AF63D15A4277BF857E93B225717C76F3DA9D             Tushy
11    78          E4BB4B0185636612E25A2955F474B4494789F63C             Blacked
      79          E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE             Blacked
12
      80          E8910563DE2084C48C6A8C5801457339745A09FA             Vixen
13    81          EC31FAD9EF2492EACCD767B4A6E207BBF2765F0E             Blacked
      82          F1132ADEB75DD2EA99B249DD70902C74E9DA7884             Tushy
14
      83          F28E401CBB99CFB32E0808B7662BC50A9C5F64AD             Blacked
15    84          F8A92532C263D3E3497FF27A3FE569FF7BF15E37             Blacked
      85          F8FEB2EE6C17B37610C5B2AE85F0266CB0C5C5BD             Blacked
16
      86          FF7A5EE06C927438A3CAABC69D774D9CEACA8B9F             Tushy
17    87          FFD7D4C0A301487B3A11CBF1B3FC16410D42AEA0             Vixen

18
             PCAP – Packet Capture Data (raw data files from the film). Within each movie is at
19
     least 16 KB of raw movie data stored in a PCAP. Each raw movie data file has an associated
20
     “.torrent” file that is unique to each hash.
21
             i)       .torrent files – A relatively small file that linked to a “torrent site”.
22
             ii)      Movie Name – The title of the movie as recorded at the Copyright Office
23
             iii)     Infringed File Name. – The file name
24
             iv)      Actual Movie Title
25
             v)       The terms “Backed”, “Tushy”, “Vixen”
26
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 7
           Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 13 of 59




 1

 2

 3          1.      On-site inspection of electronic media.
 4          Computers will be first inspected by the Defendant’s technician according to the
 5   PHASE 1 review below. To minimize cost, inspection will be done by a computer technician.
 6          2.      Search methodology.
 7          The computers and other media will be searched according to Defendant’s PHASE I
 8   and PHASE II procedures below.
 9          3.       Format.
10          The format produced will be a native file format that will probably then be reproduced
11   in a PDF format in readable form. Evidence will be kept in native and
12          4.      De-duplication.     The parties may de-duplicate their ESI production across
13   custodial and non-custodial data sources after disclosure to the requesting party.
14          5.      Metadata fields. If the requesting party seeks metadata, the parties agree that
15   only the following metadata fields need be produced: document type; custodian and duplicate
16   custodians; author/from; recipient/to, cc and bcc; title/subject; file name and size; original file
17   path; date and time created, sent, modified and/or received; and hash value.
18

19

20   DEFENDANT’S PHASE 1 REVIEW – COMPUTER AND MEDA CULLING
21          6.      For computers that have a hard drive, the computers will be “booted” and the
22   Defendant’s technician will use an accepted forensic tool, such as X-RAYS “WinHex” to inspect
23   the drives. (Cost approx. $ 500.00) A computer technician (est cost $ 40.00 per hour) will do a
24   pattern match on each of the five (5) search strings provided by the Plaintiff for the computer
25   hard drive(s.) to Defendant’s technician. The date and time of the analysis will be recorded. If a
26
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 8
              Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 14 of 59




 1   match is found, then Defendant technician will identify the match and isolate that computer for
 2   PHASE 2 REVIEW.
 3            7.     If there is an external hard drive or other media, then the hard drive will be
 4   installed so that it can be read by the forensic tool.
 5            8.     To limit burden and costs, this PHASE 1 REVIEW will be performed by
 6   someone with the skill of a computer technician hired by the Defendant.
 7            9.     It is estimated that PHASE I will take 40 hours (approx. 20-30 minutes per
 8   computer).
 9            10.    If a computer is inoperable or a hard drive does not work, then this will be
10   noted.
11

12   DEFENDANT’S PHASE 2 REVIEW – LIKELY COMPUTER SOURCES
13            11.    The isolated drives identified in the PHASE 1 REVIEW will be available for a
14   Plaintiff’s computer expert who will do a further review according to the following protocol at
15   Defendant’s counsel’s office in Hillsboro, Oregon or in Seattle, Washington. The further review
16   will allow the expert to search for an additional ten (10) “Search Strings” that are from the
17   following data sources:
18                   a.      Hash Hex Identifier Listed Above;
19                   b.      16 KB Raw Data Block from a PCAP;
20                   c.      Infringed Movie Title; and/or
21                   d.      Actual Movie Title.
22                   e.      Identification of the particular torrent client identified by Plaintiff’s IPP
23   monitoring software.
24

25

26
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 9
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 1

 2   F.        Discovery Disputes
 3             In the event there are discovery disputes, counsel will meet informally in good faith
 4   basis to try and stipulate to issues. Absent resolution, the parties will ask for an informal
 5   conference with a discovery magistrate to resolve any issues.
 6

 7        DATED: __________________________
 8
          Plaintiff’s Counsel                               Defendant’s Counsel
 9
          By                                           By
10

11
          ORDER
12

13        Based on the foregoing, IT IS SO ORDERED.
14        DATED: __________________________
15

16
17        The Honorable __________________________
          UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26
27


     [PROPOSED] DEFENDANT’S ESI PROTECTIVE
     ORDER - 10
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         — EXHIBIT 2 —
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Adrienne McEntee

From:                 Adrienne McEntee
Sent:                 Friday, March 29, 2019 4:45 PM
To:                   'Bandlow, Lincoln D.'; Case, Bryan J.; J. Curtis Edmondson
Subject:              RE: Strike 3 v. Doe - Model ESI Agreement


Lincoln,

Thankyouforthecalltoday.WeunderstandthatyouaregoingtothinkabouttheESIprotocolabitmoreandgetback
withusonMonday.

Also,wewouldliketoscheduleallexpertdepositionstheweekofApril22nd.Webelievewecanmeetthecourt’s
deadlinesifweconductthedepositionsviaSkype.

Finally,thisemailconfirmsthatyouwillidentifytheRule30(b)(6)witness(es)nextweekaswell.Pleasealsoprovideany
objectionstothenoticebyApril5th.

AdrienneD.McEntee
Terrell|MarshallLawGroupPLLC
936N34thStreet,Suite300|Seattle,WA98103
T206.816.6603|F206.319.5450

From:Bandlow,LincolnD.<lbandlow@foxrothschild.com>
Sent:Tuesday,March26,20197:50PM
To:AdrienneMcEntee<amcentee@terrellmarshall.com>;Case,BryanJ.<bcase@foxrothschild.com>;J.Curtis
Edmondson<jcedmondson@edmolaw.com>
Subject:RE:Strike3v.DoeͲModelESIAgreement



BryanisunavailablebutIcandothecall.Ihaveadepositionthefirsthalfoftheday,soFridayat4:00p.m.?

Lincoln Bandlow
Partner
Fox Rothschild LLP
10250 Constellation Blvd., Suite 900
Los Angeles, CA 90067
(310) 228-2913 - direct
(310) 556-9828- fax
lbandlow@foxrothschild.com
www.foxrothschild.com



From:AdrienneMcEntee<amcentee@terrellmarshall.com>
Sent:Tuesday,March26,20193:11PM
To:Case,BryanJ.<bcase@foxrothschild.com>;J.CurtisEdmondson<jcedmondson@edmolaw.com>


                                                                1
                 Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 18 of 59
Cc:Bandlow,LincolnD.<lbandlow@foxrothschild.com>
Subject:[EXT]RE:Strike3v.DoeͲModelESIAgreement

Bryan,CurtandIwouldliketomeetandconferwithyouregardingtherevisionstoourproposedESIorder.Areyou
availableonFriday?

AdrienneD.McEntee
Terrell|MarshallLawGroupPLLC
936N34thStreet,Suite300|Seattle,WA98103
T206.816.6603|F206.319.5450

From:Case,BryanJ.<bcase@foxrothschild.com>
Sent:Monday,March25,20194:27PM
To:J.CurtisEdmondson<jcedmondson@edmolaw.com>;Case,BryanJ.<bcase@foxrothschild.com>;AdrienneMcEntee
<amcentee@terrellmarshall.com>
Cc:Bandlow,LincolnD.<lbandlow@foxrothschild.com>
Subject:RE:Strike3v.DoeͲModelESIAgreement



Curt,

Inanefforttoworkcooperatively,attachedareStrike3’seditstotheESIagreementyousentonFriday.Pleaseletus
knowifyouhaveanychangesordisagreementswiththeattached.Ifso,counselshouldscheduleadiscovery
conferencetodiscuss.

Regards,

Bryan

BryanCase
Partner
FoxRothschildLLP
Direct:(206)389Ͳ1643
Cell:(425)890Ͳ5112

From:J.CurtisEdmondson<jcedmondson@edmolaw.com>
Sent:Friday,March22,20195:53AM
To:Case,BryanJ.<bcase@foxrothschild.com>;AdrienneMcEntee<amcentee@terrellmarshall.com>
Cc:Bandlow,LincolnD.<lbandlow@foxrothschild.com>;jcedmondson@edmolaw.com
Subject:[EXT]Re:Strike3v.DoeͲModelESIAgreement
Importance:High


BryanandLincoln,

AttachedisourproposedESIprotectiveorder.Whenthiscasestarted,IproposedthatwediscussESIandtherewasnot
muchofaresponsefromyourside.Nowthatwearedowntothewire,Ihaveputtogetherareasonableprotocolin
viewofyourremainingclaims(ofwhichtherearenone)andyouraffirmativedefenses(ofwhichthereareafew).Ihave
alreadyspentasignificantamountoftimecollectingandorganizingthesecomputers.


                                                              2
                   Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 19 of 59
Thenumberofcomputersbeingproducedisaresultofyouroverlybroaddiscoveryrequests,whicharecut/pastefrom
thediscoveryrequeststhatMalibuMediawouldsendoutfromtheLipscomblawfirm.Thesediscoveryrequestswere
designedbytheLipscombfirmtoincreasethelitigationcoststothedefendantandforceasettlement.

IhavecraftedacosteffectiveESIorderwhereDefendantwillbeartheinitialcostofinspectingcomputers.Themajority
ofthesecomputerswereboughtfromGoodwillandeBayandmaystillhavethepriorownersdataonthem.

PleaseletmeknowifmyESIorderisacceptable.YourESIorderwillnotworkasitisoverlybroad,imposeslarge
unnecessarycosts,andisdisproportionatetowhatisneededtoproveyouraffirmativedefenses.

B.Regards,

J.CurtisEdmondson,PatentAttorney|EdmondsonIPLaw
USPTO57027|CASBN236105|WASBN43795|DCBARNO998407|CAPE13377|WAPE43728
VentureCommerceCenter,3699NEJohnOlsenAve,HillsboroOR97124
ph:(503)336Ͳ3749|fax:(503)482Ͳ7418
jcedmondson@edmolaw.com|www.edmolaw.com



                                        

        On March 22, 2019 at 12:28 AM "J. Curtis Edmondson" <jcedmondson@edmolaw.com> wrote:

        Bryan,

        IamreviewingyourproposededitsmodelESIagreement.IhavetakenthemodelESIagreementand
        tailoredittothiscomputer/harddriveissue.Ishouldhaveourdraftttoyoubytomorrow.

        InBestRegards,

        J.CurtisEdmondson,PatentAttorney|EdmondsonIPLaw
        USPTO57027|CASBN236105|WASBN43795|DCBARNO998407|CAPE13377|WAPE43728
        VentureCommerceCenter,3699NEJohnOlsenAve,HillsboroOR97124
        ph:(503)336Ͳ3749|fax:(503)482Ͳ7418
        jcedmondson@edmolaw.com|www.edmolaw.com



                                               

                   On March 21, 2019 at 8:40 PM "Case, Bryan J." <bcase@foxrothschild.com>
                   wrote:



                   Adrienne and Curt,



                   Attached please find our edits to the model ESI agreement. Please let us know if
                   you have any changes ASAP so we can move forward with discovery without
                   further delay, in particular inspection of Defendant’s computer devices you’ve
                   disclosed.
                                                              3
                Case 2:17-cv-01731-TSZ Document 113 Filed 04/24/19 Page 20 of 59



                Bryan




                Bryan Case
                Partner
                Fox Rothschild LLP
                1001 Fourth Avenue, Suite 4500
                Seattle, Washington 98154-1192
                Direct: (206) 389-1643
                Cell: (425) 890-5112

                Fax: (206) 389-1708
                bcase@foxrothschild.com
                www.foxrothschild.com




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                reply emails. Thank you.






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tothisemailanddeletetheoriginalandreplyemails.Thankyou.

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                                                             4
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

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thisemail.Ifyouhavereceivedthisemailinerror,pleaseimmediatelynotifythesenderatFoxRothschildLLPbyreplying
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



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         — EXHIBIT 3 —
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                           April 09, 2019

                UNITED STATES DISTRICT COURT

          FOR THE WESTERN DISTRICT OF WASHINGTON

                          AT SEATTLE




STRIKE 3 HOLDINGS, LLC, a Delaware )
corporation,                       )
                                   )
              Plaintiff,           )
                                   ) Case No.
     vs.                           ) 2:17-cv-01731-TSZ
                                   )
JOHN DOE, subscriber assigned IP   )
address 73.225.38.130,             )
                                   )
              Defendant.           )




       VIDEOTAPED DEPOSITION OF

                        April 9, 2019

                          10:01 a.m.

                    Seattle, Washington




Reported by:
Mark Hovila, CCR, CM
CCR No. 2599
Job No. 790669


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                                April 09, 2019

 1                            EXAMINATION

 2   BY MR. BANDLOW:

 3         Q.                 , what is your middle name?

 4         A.

 5         Q.    It is not          ?

 6         A.    No.

 7         Q.    Is your son's middle name                ?

 8         A.    No.

 9         Q.    Your middle name is not          ?

10         A.    No.

11         Q.    Is your son's middle name            ?

12         A.    No.

13         Q.    What is your son's middle name?

14         A.

15         Q.    His middle name is         ?

16         A.    Yes.

17         Q.    Have you ever had your deposition taken

18   before?

19         A.    No.

20         Q.    Have you ever given testimony in a court of

21   law before?

22         A.    Yes.

23         Q.    Is that in your capacity in law enforcement?

24         A.    Yes.

25         Q.    Have you ever given testimony about Internet


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·1· · · · · A.· ·Losartin, potassium, hydrochlorothiazide,

·2· · ·verapamil, and paroxetine HCL.

·3· · · · · Q.· ·How is it you think that might affect your

·4· · ·ability to give your best testimony today?

·5· · · · · A.· ·I'm just taking those medications.

·6· · · · · Q.· ·Okay.· If you feel any reason you need to

·7· · ·take a break or gather yourself, that's fine, just let

·8· · ·me know.· What is your date of birth?

·9· · · · · A.·                   1944.

10· · · · · Q.· ·What's your current home address?

11· · · · · A.· ·

12· ·                      .

13· · · · · Q.· ·How long have you lived at that address?

14· · · · · A.· ·Since 1977.

15· · · · · Q.· ·And you've actually lived at that one

16· · ·address from '77 to the present?

17· · · · · A.· ·Built the house and have lived in it ever

18· · ·since.

19· · · · · Q.· ·Have you or your son -- well, strike that.

20· · ·Has your son ever lived at

21· · ·              ?

22· · · · · A.· ·No.

23· · · · · Q.· ·Has your son ever lived at

24· · ·                            ?

25· · · · · A.· ·I don't know.


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                                                                                YVer1f
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 1         Q.    Has your son ever lived in Portland?

 2         A.    No.

 3         Q.    Okay.   Has your son ever lived at

                               ?

 5         A.    Yes.

 6         Q.    When did he live at that address?

 7         A.    I don't know the address, I know -- well,

8    I'm not sure.

9          Q.    Does your son live with you now?

10         A.    On and off, yes.

11         Q.    Is there any other address you know your son

12   to live in now?     Because you said on and off.

13         A.    When he leaves home, I don't know.        Can I --

14               MS. McENTEE:      Did you have more to add to

15   that answer?

16         A.    Well, I know that he's stayed at my

17   daughter's.

18   BY MR. BANDLOW:

19         Q.    He also sometimes stays at your daughter's

20   house?

21         A.    Yes.

22         Q.    And you own your present home, correct?

23         A.    Yes.

24         Q.    From August of 2016 through December of

25   2017, who lived in your home?


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 1           A.    My wife and I, my son off and on.

 2           Q.    No one else?

 3           A.    Yes.    My brother-in-law.

 4           Q.    Anybody else?

 5           A.    Not -- not lived, no.

6            Q.    Okay.   Obviously you've had visitors at your

7    house.

8            A.    Lots of visitors, yes.

9            Q.    And just for reference, what is your wife's

10   first name?

11           A.            .

12           Q.            .   Okay.   And your daughter's first

13   name?

14           A.

15           Q.                 And the brother-in-law's first

16   name?

17           A.

18           Q.       .    Okay.   Do you currently have an email

19   address?

20           A.    Yes, I do.

21           Q.    What is that email address?

22           A.

23           Q.    Is that the only email address you currently

24   have?

25           A.    No.


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 1         Q.    What others do you have?

 2         A.

                    .   And you want the --

 4         Q.    Is there any others?

 5         A.    Yes.

 6         Q.    What else?

 7         A.    It's

 8         Q.    Okay.   Any others?

 9         A.    No.

10         Q.    How long have you had the

11                             email address?

12         A.    Since Comcast bought the previous AT&T out.

13         Q.    Do you know when that was?

14         A.    No.

15         Q.    Okay.

16         A.    Long time ago.

17         Q.    How long have you had the                address?

18         A.    I would guess 15 years.

19         Q.    And how long have you the Gmail address?

20         A.    Within -- less than a year.

21         Q.    Was there a reason you set up the additional

22                       email?

23         A.    Yes it's an email that I use on my cell

24   phone.

25         Q.    Was there a particular reason you set up the


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 1                email address?

 2         A.      Yes.    I used to run an online       site.

 3         Q.         , the fish?

 4         A.      Fish, yes.

 5         Q.      What do you mean by run a site?

 6         A.      Well, I guess managed the --

 7         Q.      Is it a website dedicated to people

8    interested in           fish?

9          A.      I don't even know if it was in -- yes.        Yes.

10                 MS. McENTEE:      And Lincoln, I don't want to

11   interrupt your flow, but one thing, I'm noticing some

12   of the exchange here that I think             is having some

13   trouble hearing you.         He does have hearing problems,

14   so --

15                 MR. BANDLOW:      Okay.

16                 MS. McENTEE:      I just want you to be aware of

17   that.

18                 MR. BANDLOW:      I'll try to speak up.

19           A.    My one hearing aid battery went dead.

20           Q.    Okay.

21           A.    This one, if it goes dead I don't hear

22   anything.

23           Q.    I'll try to keep my volume up for you.        And

24   let me know if you don't hear anything I say.

25           A.    Thank you.


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                                April 09, 2019

 1          Q.    Have you ever had an email address

 2                        ?

 3          A.    Not -- no.

 4          Q.    Do you know if your son ever had that?

 5          A.    No, I don't.

 6          Q.    Have you ever had an email address

 7                             ?

 8          A.    No.

 9          Q.    Do you ever know if your son has had that

10   one?

11          A.    No.

12          Q.    Now, have you ever had an email address

13                        ?

14          A.    Not to my recollection.

15          Q.    Okay.   Do you know if your son has ever had

16   that email address?

17          A.    No.

18          Q.    And have you ever had an email address

19                                 ?

20          A.    No.

21          Q.    Do you know if your son's ever had that

22   email address?

23          A.    No.

24          Q.    Do you know your son's email address?

25          A.    I don't.


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 1         Q.    Okay.    Do you know anybody with first

 2   initial        last name          ?

 3         A.    He was -- yes.

 4         Q.    Is that a neighbor of yours?

 5         A.    Yes.

 6         Q.    Is he still with us?

7          A.    No.

8          Q.    No?    Okay.   Do you know someone named

9           ?

10         A.    Yes.

11         Q.    Is that a neighbor of yours?

12         A.    Yes.

13         Q.    Okay.    Is she still -- is she down the

14   street or --

15         A.    Yes.

16         Q.    Okay.    Do you have a neighbor named

17          ?

18         A.    I don't know.

19         Q.    Okay.    What about a neighbor named

20              ?

21         A.    I don't.

22         Q.                      ?

23         A.    No.    Don't know.

24         Q.                     ?

25         A.    Don't know.


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 1         Q.                  ?

 2         A.    I don't know.

 3         Q.    Okay.                    ?

 4         A.    I don't know.

 5         Q.    All right.    So I'm sorry, your son's middle

 6   name is      , correct?

 7         A.    Yes.

 8         Q.    Okay.    In July of 1999 was your son charged

9    with driving with a suspended license?

10         A.    No.

11         Q.    In June of 2002 was he charged with driving

12   with a suspended license?

13         A.    No.

14         Q.    Has he ever been charged with driving with a

15   suspended license that you're aware of?

16         A.    No.

17         Q.    I want to -- let me see if -- I didn't bring

18   my pen.    Can I borrow your pen for one moment?         I want

19   to ask you, if you could, to draw a diagram of your

20   house, the rooms in your house.          It's a one-story

21   house?

22         A.    Yes.

23         Q.    Okay.    How many bedrooms?

24         A.    Three.

25         Q.    Okay.    Can you, the best you can, it doesn't


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 1   have to be a Picasso work of art, but just give me a

 2   sense of where the rooms are in your house?

 3         A.    It's going to be very scratchy.

 4         Q.    That's okay.

 5         A.    I have tremors.

 6         Q.    Okay.   Thank you.     And I appreciate it.

 7   I'll give that back to you.        Okay.   So I'm looking at

 8   this and I'm going to, I've got some pre-marked

 9   exhibits, so I'm going to mark this one as Exhibit 30

10   so I don't -- so I don't -- I'm writing on here

11   Exhibit 30 so I don't mark it, get two duplicates.           So

12   I do see how you've kind of scratched this out here.

13               (Exhibit 30 marked)

14         Q.    On the top left corner, what is that?

15         A.    That's --

16         Q.    Living room?

17         A.    Living room, yeah.

18         Q.    Okay.   Where is the front door in this?

19         A.    That's -- it's FD.

20         Q.    FD is here.    Okay.

21         A.    Yes.

22         Q.    The front door is there?

23         A.    I need to correct that.

24         Q.    Sure.

25         A.    Because I -- this is -- this actually goes


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 1   this way.      And that is -- I don't think that that's

 2   going to be --

 3           Q.    Okay.

 4           A.    This line is out.

 5           Q.    Is the door?

 6           A.    The door.     No, the door is where it's

 7   located.

 8           Q.    Where it says FD?

 9           A.    That's the entry.

10           Q.    And you go in this front door and there's a

11   front room there?

12           A.    Yes.    There is a half wall and then a step

13   down.

14           Q.    Okay.    And then this thing to the left, is

15   that the garage?

16           A.    The garage.

17           Q.    I'm going to write the word garage just a

18   little more clearly.         Okay.   So that's your garage.

19   This is front --

20           A.    Room.

21           Q.    Room.    And then top left.   That is the

22   living room.         I'm marking that living room.   And

23   then --

24           A.    Kitchen.

25           Q.    That's -- okay, that is the kitchen.


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 1         A.     Actually, I forgot --

 2         Q.     That's okay.

 3         A.     This -- right there.

 4         Q.     That's the kitchen?

 5         A.     Yeah.   Like that.

 6         Q.     Oh, a little hallway into it?      I see.

 7         A.    This is the dining room.

 8         Q.    Oh, dining room.      Sorry.   No, no, thank you.

 9   So to the right of the living room is the kitchen?

10         A.    Yes.

11         Q.    Then there's a dining room?

12         A.    Yes.

13         Q.    And then you've got two rooms on the top

14   right.     What are those?

15         A.    Bedrooms.

16         Q.    Those are both bedrooms?

17         A.    Yes.

18         Q.    Bedroom and bedroom.

19         A.    Yes.

20         Q.    And down below is that a bigger bedroom?

21         A.    That's the master.

22         Q.    That's the master bedroom.       Master bedroom.

23   You've got -- what is this over kind of to the --

24         A.    That's --

25         Q.    -- right?


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 1         A.     That's the brown bathroom.

 2         Q.     Oh, that's -- okay, that's a bathroom.

 3   Gotcha.

 4         A.     That's what we call it.

 5         Q.     Master bathroom, probably?

 6         A.     Yeah.   There are other bathrooms.

 7         Q.     And that's the basic layout of this house.

8    Thank you.     And when your son is staying with you

9    where does he stay?

10         A.     In the -- it would be the southwest most

11   bedroom.

12         Q.     Okay.   So if we go left to right can we call

13   this bedroom 1 and bedroom 2?

14         A.     Bedroom 2.

15         Q.     Okay.   So bedroom 1, and he would be in

16   bedroom 2.

17         A.     Yes.

18         Q.     Is there anybody that stays in bedroom 1, or

19   is that just a guest room?

20         A.     It's a guest room.

21         Q.     Okay.   And your wife and you stay in the

22   master bedroom?

23         A.     Yes.

24         Q.     Okay.   Do you know, about how far away are

25   each of your neighbors' houses?


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 1           A.    The              house, it's not the

 2   anymore, but it's straight across the street.           And the

 3             home are the property -- it's a double property

 4   next to the east, across the street and to the east.

 5           Q.    Are there houses on the side of your house?

6            A.    No.

7            Q.    There's not a house on either side of your

8    house?

9            A.    Yes, there is.     There's -- we call it the

10             house.      It's on the west side.   And frankly, I

11   don't know the last name of the people that moved into

12   the house on the east side of our house.

13           Q.    Do you know how far away that house to the

14   side of you is?

15           A.    They're both, I'd say, 30, 40 foot, you

16   know, whatever the property line.

17           Q.    What is the material your house is made of?

18   Wood, brick, cement?

19           A.    Wood.

20           Q.    Wood.    Okay.   Where do you keep your

21   computers in this house?

22           A.    In the living -- front room.      In the front

23   room.

24           Q.    Aside from your attorneys, has anyone else

25   helped you with dealing with this lawsuit?


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1           Q.    Okay.    So your last job prior to retiring

2    you were -- what was your job prior to retiring?

3           A.    Deputy sheriff.    Sheriff's deputy, I should

4    say.

5           Q.    How long were you a sheriff's deputy?

6           A.    Oh, ten years, maybe.

7           Q.    Where were you a sheriff's deputy?

8           A.            County.

9           Q.    Prior to being a sheriff's deputy what was

10   your employment?

11          A.    I was NC maintenance mechanic for Boeing.

12          Q.    Do you have any kind of employment now?

13          A.    No.

14          Q.    You don't do any form of work from home?

15          A.    No.

16          Q.    Do you currently repair computers?

17          A.    Occasionally.

18          Q.    When did you start doing that?

19          A.    Probably 1998, maybe.

20          Q.    Why did you get into doing that?

21          A.    It was something to bide my time.       I was

22   interested in.

23          Q.    Do you have any business that repairs

24   computers?

25          A.    No.


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 1           Q.    Just a hobby of yours?

 2           A.    Hobby.

 3           Q.    Have you ever been employed by any computer

 4   companies?

 5           A.    No.

 6           Q.    And so from -- so you -- how long ago was it

 7   that you worked on a day-to-day basis?         Let me scratch

 8   that.      When did you retire?

 9           A.    I believe it was 1982 or '3.     I can't

10   remember the exact date.

11         Q.      1982 or 1983?

12         A.      Yeah.

13         Q.      And in the last couple of years you've not

14   had any sort of full-time employment of any kind,

15   correct?

16         A.      No.

17         Q.      All right.   Are you generally around the

18   house, or what are you doing with your day to days,

19   typically?

20         A.      I guess generally around the house.

21         Q.      Okay.

22         A.      I work on a computer every once in a while.

23         Q.      What is -- well, you graduated from high

24   school?

25         A.      Yes.


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 1           Q.    What years?

 2           A.    I went into the Army.

 3           Q.    Oh, okay.     How many years were you in the

 4   Army?

 5           A.    Three years.

 6           Q.    And then after that you started working for

 7   Boeing?

 8           A.    Yes.

 9           Q.    Okay.   And then when did you make a

10   transition from Boeing to being a deputy sheriff?

11           A.    1972.

12           Q.    So were you a sheriff from '72 until '83 or

13   so when you retired?

14           A.    Yes.

15           Q.    As a sheriff did you ever have occasion to

16   work on any kind of cyber crimes or anything of that

17   nature?

18           A.    No.

19           Q.    This is before the Internet when you

20   retired, correct?

21           A.    Yes.

22           Q.    Do you speak any other languages?

23           A.    No.

24         Q.      When did you first begin repairing

25   computers?


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 1          A.    1998 or '99, in that frame.

 2          Q.    Was there a reason for you --

 3          A.    Just to fix them up and resell them.

 4          Q.    And that's something you to this day

 5   continue to do?

 6          A.    I'm -- well, within the last year or so I

 7   just started working on a couple of computers for my

 8   niece, to repair them.

 9          Q.    This is your niece -- your niece is -- how

10   is your niece related to you?        Is that your sons's --

11   wait, I'm terrible with --

12          A.    My brother's daughter.

13          Q.    Your brother's daughter, okay.       How old is

14   she?

15          A.    Probably 46, 47.

16          Q.    Oh.   Are there any young children in your

17   house in the last few years?

18          A.    By young --

19          Q.    You know, 10 or below, or any children of

20   that age?

21          A.    No.

22          Q.    Any early teen kids in the house in the last

23   few years?

24          A.    Well, they've visited, yes.      The younger and

25   the teens have visited.       My grandson has stayed at the


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 1   home on several days.

 2         Q.    Okay.   So let me back up.      So you have a

 3   daughter and a son?

 4         A.    Yes.

 5         Q.    Okay.   Your son      , does he have any

 6   children?

 7         A.    No.

 8         Q.    Okay.   And your daughter, you were kind of

 9   enough to give her name, so let me see.                    has

10   children?

11         A.    Yes.

12         Q.    How old are her children?

13         A.    18 and 20.

14         Q.    Okay, 18 and 20.     All right.    And one of

15   those is the grandson you just mentioned?

16         A.    Yes.

17         Q.    Okay.   So is the grandson the 18-year-old?

18         A.    Yes.

19         Q.    Okay.   And the 20-year-old, is that a

20   granddaughter?

21         A.    Yes.

22         Q.    Okay.   And in the last couple years they've

23   occasionally stayed over at the home?

24         A.    Yes.

25         Q.    All right.    Do you know if they've watched


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 1   movies while they were at the home?

 2           A.    No, I don't.

 3           Q.    So did you get any kind of training to help

 4   you with this processes of refurbishing computers?

 5           A.    Not -- not really, no.    No.

 6           Q.    How did you go about learning how to do

 7   that?

 8           A.    Same way I learned how to take apart a car

 9   motor and put it back together.        Just --

10           Q.    Tinkering with it?

11           A.    Tinkering.

12           Q.    Do you have a preference for Apple or PC?

13           A.    PC.

14           Q.    PC.   Do you take apart and refurbish Apple

15   computers?

16           A.    I don't take -- well, can -- I had -- the

17   only Apple computers that I've worked on, many years

18   ago I bought six iMacs from Everett Junior College.

19   And those computers had no operating system.          I

20   installed operating systems on them, gave one away and

21   sold the rest.        I'm currently working on a MacBook Pro

22   for my niece and her husband.        And about two, two and

23   a half weeks ago I fixed another one of their MacBook

24   Pros to just get it up and running.

25           Q.    Okay.   Have you purchased any software


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 1   licenses in the past year or two?

 2           A.    Yes.

 3           Q.    What software licenses have you purchased

 4   that you can recall as you sit here today?

 5           A.    Windows 7, Windows 8, Windows 10, Avast

 6   Antivirus.       Bought that for one year.    And I think it

 7   was either Malwarebytes or SUPERAntiSpyware.

 8           Q.    In the past year how many computers have you

 9   purchased?

10           A.    In the past year?   I don't know, I'd say 20

11   to 30.       I haven't really kept a record of it.

12           Q.    In the past year how many computers have you

13   sold?

14           A.    Probably eight or 10.

15           Q.    How many have you given away?     You mentioned

16   earlier you gave some away.

17         A.      I've given away probably 120.

18         Q.      Over the lifetime of your doing computers?

19         A.      Yes.

20         Q.      In the past year do you know how many you've

21   given away?

22         A.      Four, I believe.

23         Q.      Is there a particular time of day you're

24   more likely to work on repairing computers?

25         A.      Evening.


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 1   the bills?     Does it say            ?    What does it say?

 2         A.     I don't know.

 3         Q.     But it's in your name.       Are you the one who

4    pays for the Comcast bill?

5          A.    Yes.

6          Q.    Okay.    Do you separately pay for cable

7    television?

8          A.    No.     It's a single package.

9          Q.    Okay.    So Comcast provides your cable and

10   your Internet?

11         A.    And phone.

12         Q.    And are you still with Comcast?

13         A.    Yes.

14         Q.    Okay.    So between August of 2016 and

15   December of 2017, during periods of that time your son

16   lived at the house, correct?

17         A.    Yes.

18         Q.    Did anybody else in that period of time live

19   at the house?       Obviously besides you and your wife.

20         A.    Yes.    I'm trying to -- I can't remember when

21   he moved in, but my brother-in-law           , he lived with

22   us for about three and a half years.

23         Q.    You have a sister --

24         A.    Wife's --

25         Q.    Oh, your wife's --


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 1         A.    Brother.

 2         Q.    Brother.    Okay.   So give me the time frame

 3   of when he lived in the house.

 4         A.    They moved -- from, I believe it was maybe

 5   November of last year for about three and a half years

 6   before that.

 7         Q.    Oh, okay.    So 2014 or '15 he may have moved

 8   in and lived all the way through November of 2018?

 9         A.    Yeah, maybe.

10         Q.    Okay.

11         A.    Latter part of maybe '14, I guess.        Or '15.

12         Q.    When he moved in where did he live?         What

13   room did he live in?

14         A.    The guest bedroom.

15         Q.    So bedroom number 1 on your chart?

16         A.    Yes.

17         Q.    And then during that time bedroom number 2

18   your son was in?

19         A.    Yes, when he was here.

20         Q.    Okay.   And his name, you said, was

21          ?

22         A.    Yes.

23         Q.    Do you know where he works?

24         A.    No, he -- he's a commercial plumber.

25   Seattle, I think.


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 1         Q.     Do you know what company he works for?

 2         A.     Whoever they -- the union assigns him to

 3   work with.     I have no idea who that might be.

 4         Q.     How old is               ?

 5         A.     Sixty -- I'd say 63 or '4.

 6         Q.     Have you ever talked to him about this

 7   lawsuit?

 8         A.     No.

 9         Q.     And other than Federal Way, do you have any

10   other address information for him?

11         A.     No.   I don't know it.

12         Q.     Does he have a middle name?

13         A.     I don't know.    I'm sure -- I don't know.

14         Q.     Did he have -- during the time he lived in

15   the house did he have a computer in his room?

16         A.     No.

17         Q.     Did he have a laptop or any kind of

18   computer?

19         A.     Let me expand -- he had a netbook that his

20   son gave him for about the last six months that he

21   lived in there.      And that computer, or that laptop, or

22   netbook, was never -- was not operable.

23         Q.     How do you know it was not operable?

24         A.     I looked at it I wound up fixing it up when

25   he left.


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 1           Q.    Did             have access to other

 2   computers that were in the home?

 3           A.    Yes.

 4           Q.    Okay.   What computers did he have access to?

 5           A.    My desktop.

 6           Q.    Where was your desktop located?

 7           A.    In the front room.

8            Q.    Okay.   So was there a desk and sort of a

9    computer setup in the front room?

10           A.    Yes.

11           Q.    And that desktop computer could search the

12   Internet, could get access to the Internet?

13           A.    Yes.

14           Q.    Okay.   What is the -- is there an

15   identifying number for that computer?

16           A.    Not that I'm aware of.

17           Q.    Do you know if that computer's been produced

18   in connection with this case?        Was that given to your

19   attorneys for production in this case?

20           A.    Yes.

21           Q.    It was.   Were there any other computers that

22                  had access to while he was staying there?

23           A.    No.

24           Q.    Your son, does he have a computer in his

25   room?


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 1           A.    Yes.

 2           Q.    What kind of computer is that?

 3           A.    A generic.

 4           Q.    Is it a PC?

 5           A.    Yeah, it's a PC.

6            Q.    Does it have access to the Internet?

7            A.    Yes.

8            Q.    Does he still have that in his room?

9            A.    No.

10           Q.    When --

11           A.    We'll, he has a different computer,

12   basically.

13           Q.    Okay.     So let me back up.

14           A.    Okay.

15           Q.    From the period of August 2016 through

16   December 2017, did your son have a computer in his

17   room?

18           A.    There was a computer in his room, yes.

19           Q.    And was that a desktop?

20           A.    Yes.

21           Q.    And it was a PC?

22           A.    A PC.

23           Q.    And it had access to the Internet?

24           A.    Yes.

25           Q.    Okay.     And does that computer still exist?


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 1         Q.     So he plays World of Warcraft, right?

 2         A.     Yes.

 3         Q.     Are there any other games that you know that

 4   he plays?

 5         A.     I don't know the names of them.       But he

 6   plays other ones, and I don't know the names of them.

 7   There are -- well, I don't know if it will name them,

 8   but he will have -- I mean, there will be records of

 9   when they purchased.      Go online to Steam or something

10   like that and every once in a while they'll have a

11   special on different games and --

12         Q.     How do you know about Steam?

13         A.     He has -- I have -- he only has basically

14   two friends in the world.       One of them lives here in

15   West Seattle and the other one lives in Minnesota,

16   moved to Minnesota.      The main time that he is able to

17   play games with them is in the late evening through

18   the morning hours.      And when they play games, you

19   know, if --         is the gentleman from Minnesota.

20   They talk and they'll say, hey, there's a cool game or

21   something that's cheap, and he'll want to buy that

22   game so they can play.

23         Q.     So you've helped him buy games on Steam

24   sometimes?

25         A.     Well, I -- yes, I have --


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 1         Q.    Do you know             last name, the friend in

 2   Minnesota, by any chance?

 3         A.    I know it.      And I can see it, but I can't

 4   say it.

 5         Q.    What about -- you said he had another friend

 6   in West Seattle.       Do you know that person's name?

 7         A.                .

 8         Q.                .

 9         A.    Yes.

10         Q.    Do you have any other contact information

11   for               ?

12         A.    No.

13         Q.    How do you know he's in West Seattle?

14         A.    That's where he bought a home.

15         Q.    How do you know he bought a home there?

16         A.    I took my son to the home for visits

17   every -- occasionally.

18         Q.    Do you know the address?

19         A.    No.     I don't know.    The farther away from

20   Seattle I am, the better.

21         Q.    Okay.

22         A.    My son hears from                 maybe once

23   every month and a half or two.

24         Q.    Does your son watch movies on his computer?

25   Ever see him watching movies?


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 1   issue with it and that he should start turning it off

 2   at night.

 3         Q.    Okay.     Have you ever received a copyright

 4   alert notice from comcast?

 5         A.    Not that -- other than that one time many

 6   years ago that, I guess that alert notice, I don't

 7   recall having received one.

 8         Q.    Where am I at here?      Let's look at Exhibit 5

 9   for right now.      We'll go back to 4 in a second.

10               (Exhibit 5 marked)

11         Q.    Exhibit 5, some kind of email from Shop

12   Goodwill.    And that's to you, to              , correct?

13         A.    Yes.

14         Q.    And it's April 29th, 2016, correct?

15         A.    Yes.

16         Q.    And it looks like you were successful bidder

17   on a computer, correct?

18         A.    Yes.    Yes.

19         Q.    This HP Pavilion Slimline?

20         A.    Mm-hmm.

21         Q.    All right.     So you purchased that off of --

22   from Shop Goodwill?

23         A.    Yes.

24         Q.    Do you know what happened to that computer?

25         A.    That Slimline?     It was -- it could be one of


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1    the ones that I have not sold.        Or got rid of.

2          Q.    Do you think it's one you still have in your

3    possession?

4          A.    I don't know, without -- I have a lot of

5    computers in my possession.

6          Q.    Okay.

7          A.    A lot of computers that were bought from

8    Shop Goodwill.

9          Q.    All right.    Let me mark this one next in

10   order.     Or actually, Exhibit 4, since I didn't mark

11   one yet.

12               (Exhibit 4 marked)

13         Q.    Exhibit 4 is a document that was prepared, I

14   believe, by your counsel talking about the production

15   of various computers and with devices, et cetera, in

16   this matter.     And if you look at the second page of

17   that, it lists, it begins to list a number of

18   computers, laptops, various other things.

19         A.    Okay.

20         Q.    Do you see on this list a computer that you

21   would believe is this computer identified in Exhibit

22   5?

23         A.    I don't -- I don't know without -- S5-1204?

24   I don't see it on here.

25         Q.    Okay.   Does that help refresh your


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1          Q.      Okay.   And I appreciate your trying to

2    clarify, but I just now I need to kind of backtrack.

3          A.      Okay.

4          Q.      So from August 12th, 2016, through December

5    9th, 2017 --

6          A.      Okay.

7          Q.      -- in that period of time, was there a

8    computer that you used?

9          A.      Yes.

10         Q.      Which computer was that?

11         A.      That was an ASUS computer.     If it's on the

12   list here, I think, where is --

13                 MS. McENTEE:   You're looking for Exhibit 4.

14   BY MR. BANDLOW:

15           Q.    If you look at 4, it looks like --

16           A.    4.

17           Q.    Are you referring to Bates number 10029 of

18   that?      It's the first page of that.     No, no, no.    I'm

19   talking about -- look at the second page of that

20   document.

21           A.    Okay.

22           Q.    And then these computers starting on left,

23   they're numbered.       And there's one that says 10029

24   towards the bottom.       That says ASUS.    Is it that one?

25   Is that the one you're talking about?


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 1   exhibit consists of.      And I want to ask you some

 2   questions about some of the documents that are in

 3   there.      We can kind of go through it page by page.

 4   This first page on there, it says to Comcast or the

 5   U.S. District Court of the Western District of

 6   Washington.      Can you tell me what this was?

 7          A.    This appears to be a letter that I had --

 8   that I drafted in -- when I was considering trying to

 9   defend myself.

10          Q.    Okay.   Do you know if you ever actually sent

11   this to Comcast or the District Court?

12          A.    I wouldn't -- I can't remember whether I did

13   or not.

14          Q.    Okay.   In point number 4 on that page you

15   say:     "We have had six people living/staying at our

16   home over the past year who have had access to the

17   Internet by using our PC or their own laptops."           Who

18   are the six people in your mind when you wrote there?

19          A.    My granddaughter, my grandson,                 ,

20   my brother and his wife,

21          Q.    Is that      and                 ?

22          A.        and       .    And my brother-in-law and

23   his wife, that was                 and --      and

24          .       is deceased.     He just passed away just

25   recently.


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 1           Q.    Okay.   Okay.    And that's the exhausting of

 2   the six people had you in mind when you wrote this?

 3           A.    Yes.    That's -- now, I'm just saying that

 4   there have been other people, though they've been the

 5   only ones that have spent any, you know, more than a

 6   day or two.

 7           Q.    All right.      And then on point 8 you say:    "I

 8   recent contacted Comcast for problem with our Internet

 9   connection and found that they had a computer listed

10   as being connected to our modem that did not exist in

11   our home."      What is the basis for your saying that?

12           A.    I was just looking at -- went to my account,

13   online account, and they had a computer hooked up on

14   the line that I could not account for.

15           Q.    What was the name of that computer?

16           A.    I have no idea right now.     I should have

17   listed it, I imagine, but I don't remember.

18           Q.    Did you take a photograph or have any

19   documents that would support this contention in number

20   8?

21           A.    No, I don't.

22           Q.    All right.     Then turning to the next page,

23   "Letter to who it may concern," did you write this as

24   well?

25           A.    Yes.


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 1         Q.    So that's all of those.      Have you ever

 2   watched X-rated adult or pornographic movies or live

 3   feeds?

 4         A.    No.

 5         Q.    Have you ever been made aware that your son

 6   watches them?

 7         A.    No.

 8         Q.    And you had never heard of Strike 3 prior to

 9   this lawsuit?

10         A.    Never, no.

11         Q.    Have you ever downloaded any movies or

12   television shows?

13         A.    Not myself, no, I don't.       I've never.

14         Q.    Do you know of anybody in the household

15   that's done it?

16         A.    No.

17         Q.    Since you were made aware of this lawsuit,

18   have you -- I'm going to break this down.          Have you

19   given away computers that were in your possession at

20   the time you were made aware of this?

21         A.    Yes.

22         Q.    How many have you given away?

23         A.    Five or six.

24         Q.    Have you sold some?

25         A.    Yes.


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1    law enforcement denied wrongdoing, didn't they?

2          A.    Oh, yes.

3          Q.    And you always looked for information to

4    verify their denial of that wrongdoing, didn't you?

5          A.    Yes.

6          Q.    Okay.   Now, as part of the discovery you

7    produced over 100 computer devices, routers or hard

8    drives, right?      Is that correct?

9          A.    Yeah, devices, yes.

10         Q.    Okay.   And I guess your counsel said earlier

11   you've found some additional ones, so that document

12   needs to be updated, right?

13         A.    Yes.    Yes.

14         Q.    All right.     But the computer you used in

15   your day to day was the one in the front room.

16   Correct?

17         A.    Yes, it was.

18         Q.    Okay.

19         A.    That I provided to my attorney.

20         Q.    And that computer is on this list?

21         A.    I believe so, yes.

22         Q.    Can you find 4 in there for me, if you

23   would?

24               MS. McENTEE:     We've already had this

25   testimony, but we can revisit it if you like.


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 1   UNITED STATES DISTRICT COURT                        )
                                                         )
 2   FOR THE WESTERN DISTRICT OF WASHINGTON              )

 3               I, Mark Hovila, CCR No. 2599, Certified

 4   Court Reporter, certify:

 5               That the foregoing proceedings were taken

 6   before me at the time and place therein set forth, at

 7   which time the witness was put under oath by me;

 8               That the testimony of the witness, the

 9   questions propounded, and all objections and

10   statements made at the time of the examination were

11   recorded stenographically by me and were thereafter

12   transcribed;

13               That a review of the transcript by the

14   deponent was requested;

15               That the foregoing is a true and correct

16   transcript of my shorthand notes so taken.

17               I further certify that I am not a relative

18   or employee of any attorney of the parties, nor

19   financially interested in the action.

20               I declare under penalty of perjury under the

21   laws of Washington that the foregoing is true and

22   correct.

23               Dated this 19th day of April 2019.

24
                 ___________________________________
25               Mark Hovila, CCR No. 2599, CM


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